    Case: 1:16-cv-08727 Document #: 259 Filed: 10/30/17 Page 1 of 4 PageID #:1117



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

IN RE: NATIONAL COLLEGIATE                  )       MDL No. 2492
ATHLETIC ASSOCIATION                        )
STUDENT-ATHLETE CONCUSSION                  )       Master Docket No. 16-cv-8727
INJURY LITIGATION –                         )
SINGLE SPORT/SINGLE SCHOOL                  )       Case Nos.      16-cv-9980
(FOOTBALL)                                  )                      17-cv-1402
                                            )                      17-cv-4975
                                            )                      17-cv-4978
                                            )
                                            )       Judge John Z. Lee
                                            )
This Document Relates to All Cases          )       Magistrate Judge David M. Weisman

                    CASE MANAGEMENT ORDER NO. 8:
         INSTRUCTIONS FOR COUNSEL AND THE CLERK OF THE COURT
        REGARDING ADMINISTRATIVE PROCEDURES FOR SAMPLE CASES;
                 SCHEDULING ORDER FOR SAMPLE CASES

                                    I. Instructions for Counsel

       A.     In order to manage and control Master Docket No. 16-cv-8727, the Court issues

instructions to all current and future counsel of record in the following four Single-Sport, Single-

School member cases (Sample Cases):

              1.      Jamie Richardson v. Southeastern Conference et al., 16-cv- 9980;

              2.      Rose v. National Collegiate Athletic Association et al., 17-cv-1402;

              3.      Weston v. Big Sky Conference et al., 17-cv-4975; and

              4.      Langston v. Mid-America Intercollegiate Athletics Assoc. et al., 17-cv-4978.

       B.     All documents filed by counsel of record in the Sample Cases must be filed only in

the respective member case number (that was assigned by the Clerk of the Court of the Northern

District of Illinois), unless directed otherwise by Judge Lee. For example, any filings in the

Richardson case must be filed only in Case No. 16-cv-9980. Any filing in a Sample Case must

reference the member case number.
    Case: 1:16-cv-08727 Document #: 259 Filed: 10/30/17 Page 2 of 4 PageID #:1118



       C.      The Clerk of the Court has created a service list in each Sample Case to ensure that

all counsel, who have filed appearances in a member case that is part of Master Docket No. 16-cv-

8727, will receive electronic case filing notices for any filings in the Sample Cases, so that they may

monitor the progress of the Sample Cases. Accordingly, the parties’ request for modification of

Case Management Order No. 6 is moot.

       D.      All current and future counsel of record in the Sample Cases must read and comply

with Case Management Orders prior to any filing. Case Management Orders are available on the

Court’s website under the MDL 2492 tab.

       E.      Any future noncompliance with these instructions shall result in the Clerk of the

Court automatically striking the filing from Master Docket No. 16-cv-8727, and counsel will be

responsible for re-filing any stricken document in the appropriate Sample Case within 10 days.

                            II. Instructions for the Clerk of the Court

       A.      In order to manage and control Master Docket No. 16-cv-8727, the Court issues the

following instructions to the Clerk of the Court.

       B.      For all future filings that do not comply with the “Instructions to Counsel” outlined

above, unless otherwise directed by the Court, the Clerk of the Court is ordered to strike any filing

made in Master Docket No. 16-cv-8727 by counsel of parties in a Sample Case if the filing relates

solely to a Sample Case.

                           III. Scheduling Order for the Sample Cases

         A.




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    Case: 1:16-cv-08727 Document #: 259 Filed: 10/30/17 Page 3 of 4 PageID #:1119




       B.      Counsel of record in each of the Sample Cases shall confer with respect to and make

good faith efforts to coordinate any common discovery in the Sample Cases.

       C.      As specified in the Case Management Schedule and Order on the Preservation of

Defenses, all cases that were not selected as a Sample Case shall remain stayed, while the Sample

Cases proceed on the above-noted schedule. See Case Management Schedule at ¶ III(F), ECF No.

91; Order on the Preservation of Defenses at ¶¶ 3–4, ECF No. 238.

       D.      Moreover, the Parties have stipulated and agreed that the Parties in the all cases that

were not selected as a Sample Case do not waive and expressly preserve all available rights,

arguments, claims and defenses (including but not limited to those with respect to venue, personal

jurisdiction and any argument falling under Fed. R. Civ. P. 12(b)(6). See Case Management

Schedule at ¶ III(F); Order on the Preservation of Defenses at ¶ 5. As specified in the Court’s Order

on the Preservation of Defenses, the time for Defendants in the cases not selected as sample cases to


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    Case: 1:16-cv-08727 Document #: 259 Filed: 10/30/17 Page 4 of 4 PageID #:1120



file any third-party claims is also extended until further order of the Court, and any applicable

statutes of limitations for filing third-party claims, including contribution claims, are expressly

tolled until further order of the Court. See Order on the Preservation of Defenses at ¶ 6.



IT IS SO ORDERED on October 30, 2017.



                                              _______________________________________
                                              John Z. Lee
                                              United States District Judge




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